         Case 1:19-cr-00324-BAH Document 1-1 Filed 06/17/19 Page 1 of 10



                                 STATEMENT OF OFFENSE


       Between on or about May of 2016 and April of 2017, the defendant, Joseph Smith, engaged

in ongoing, repeated sexual abuse of his step-daughter, A.S., with a date of birth of              .

At the time the sexual abuse began, A.S. was twelve years old.        During the same period, the

defendant sent sexually explicit text messages to A.S. enticing and coercing her to engage in the

conduct that constituted the sexual abuse. In addition, on at least one occasion, the defendant used

A.S. to produce a sexually explicit depiction of A.S.’s genitalia by photographing her using his

cellular telephone. On multiple occasions during the course of the abuse, the defendant also

photographed A.S. in the nude, often surreptitiously, and instructed A.S. to take sexually explicit

images of herself to provide to the defendant. During the period of abuse, A.S. resided in the same

home with the defendant, her mother, and her younger sister, who is approximately five years

younger than A.S. The defendant’s home was located at

                   (herein “defendant’s residence”).

       A.S. reported the abuse to law enforcement on April 19, 2017. That day, at approximately

5:30 pm., A.S., her mother (herein “Witness 1”), and A.S.’s younger sister (herein “Witness 2”)

went to the First District substation of the Metropolitan Police Department and reported that the

defendant had been forcing A.S. to insert his penis in her mouth for approximately one year. A.S.

also reported that the defendant had been performing oral sex on her. The sexual abuse began in

May of 2016, when A.S. was twelve years old. The defendant was residing in his residence with

A.S., Witness 1, and Witness 2. However, Witness 1, along with A.S and Witness 2, left the

residence as a result of an unrelated domestic dispute between Witness 1 and the defendant. The

officer who took the report notified the Youth and Family Services Division (“YFSD”) of the

Metropolitan Police Department so that A.S. could be interviewed in more detail.

                                                 1
        Case 1:19-cr-00324-BAH Document 1-1 Filed 06/17/19 Page 2 of 10



       A detective with YFSD interviewed Witness 1, who stated that after a domestic dispute

with the defendant, she left the residence with A.S. and Witness 2. Witness 1 stated that when she

contemplated returning to the residence, A.S. objected and disclosed to a friend that the defendant

had forced her to suck his penis and would put his mouth on her vagina. The friend told her own

mother, who told Witness 1 about the disclosure, who then spoke with A.S. about the disclosure.

According to Witness 1, A.S. disclosed that the defendant told A.S. that on her 14th birthday, she

was going to “get dick” in the vagina and anus. A.S. told Witness 1 that she had not earlier

disclosed the defendant’s abuse out of fear.

       That evening, A.S. was forensically interviewed at the Children’s Advocacy Center

(“CAC”). During the interview, A.S. disclosed that on Friday April 14, 2017, Witness 1 and the

defendant were involved in a domestic violence incident. As a result of the incident, Witness 1 left

the residence with her two children, A.S. and Witness 2. On April 18, 2017, when Witness 1 told

A.S. that they would be returning home to the residence, A.S. became upset and disclosed, first to

a friend and ultimately to Witness 1, that the defendant had forced her to insert his penis into her

mouth starting in May of 2016, when she was 12 years old. A.S disclosed that this abuse continued

after she turned 13 years old on June 13, 2016.

       In describing the abuse, A.S. disclosed that the defendant approached her from behind

and told her “put your pretty mouth on this.” The defendant then forced his penis in and out of

her mouth as she resisted and cried.

       A.S. said that initially, the defendant would force his penis into her mouth when Witness

1 was in the hospital. Witness 1 was hospitalized regularly, because, according to A.S., she had

complications from severe asthma. After some time, the defendant would have A.S. perform oral

sex on him when Witness 1 was in the residence; however, on those occasions, the defendant



                                                  2
         Case 1:19-cr-00324-BAH Document 1-1 Filed 06/17/19 Page 3 of 10



would make sure that Witness 1 was asleep and unable to hear anything. A.S. said that Witness

1 would be asleep in the bedroom, while A.S. was in her bed located in the living room area of

the defendant’s residence. Witness 2 would sleep in the bedroom with Witness 1, which allowed

the defendant access to A.S. when alone in the living room.

       A.S. disclosed that on one occasion, while the defendant was forcing her to suck his penis,

the defendant became very upset and cursed at her repeatedly. As retaliation, A.S. bit him on the

middle of his penis. The defendant then slapped A.S. and continued to curse at her as he forced

his penis back in her mouth while she cried.

       A.S. disclosed that “this year,” which she later clarified that she meant to encompass the

2016-17 school year, the defendant began “connecting his mouth to my vagina.” She disclosed

that she did not know what to do or how to feel. A.S. stated that the defendant made Witness 2 go

to sleep in the bedroom with Witness 1, and made sure they were asleep. She recalls being

awakened by the defendant and him telling her he was going to “eat” her vagina.

       When asked about the worst moment during the course of the abuse, A.S. described an

occasion on which the defendant “connected his mouth” to her vagina as follows: “he kept biting

my vagina and it hurt…I thought I was bleeding but the next day I checked and I didn’t bleed but

it hurt.” A.S. disclosed that the last time the suspect sexually abused her was in March of 2017.

She stated that Witness 1 walked in the room while the abuse was occurring, and the suspect

jumped up in the bed as if he was doing something else. A.S. adjusted herself and stated she was

hot to explain why she did not have any clothing on her lower body. A.S. said that she did not say

anything to Witness 1 at that time out of fear of getting in trouble.




                                                  3
         Case 1:19-cr-00324-BAH Document 1-1 Filed 06/17/19 Page 4 of 10



       A.S. said that at night, after sexually abusing her, the defendant would send text messages

to her cellular phone which would contain long paragraphs about the “next schedule.” She

described the “next schedule” as the defendant’s expectations of their next sexual encounter. In

response to his texts, A.S. said that she would text the defendant that she was not going to do what

he requested. A.S. said that in one of the texts the defendant sent her, he told her that for her 14th

birthday he was going to put his penis in her vagina and her anus. A.S. referred to the penetration

of her vagina and anus as “rape.” A.S. stated that in addition to deleting the messages from his

own phone, the defendant would also take her phone from her and delete the text messages that he

had sent her. When she was interviewed at the CAC, A.S. said that her phone, a rose gold iPhone,

was in the defendant’s possession.

       A.S. also said that the defendant would take pictures of her when she was in the bathtub in

defendant’s residence in D.C. Specifically, the defendant would open the bathroom door while

she was bathing, and would take photographs of A.S.’s naked body with his cellular telephone,

which she described as an iPhone 6 S+. In addition, the defendant had on a number of occasions

instructed A.S. to take nude pictures of her to send to him, and A.S. said she would sometimes

send them.

       On April 21, 2017, pursuant to a warrant issued by the Superior Court of the District of

Columbia, a search was conducted at defendant’s residence located at 1301 C Street S.E.,

Apartment 32, in Washington, D.C. Law enforcement seized multiple electronic devices

belonging to the defendant, including a Lenovo PC computer and a black Motorola cellular

phone. Between April 27 and May 10, 2017, a preliminary forensic examination of the seized

devices was conducted by the Department of Forensic Sciences Digital Evidence Unit (herein




                                                  4
          Case 1:19-cr-00324-BAH Document 1-1 Filed 06/17/19 Page 5 of 10



“DFS”). 1 The Lenovo PC computer revealed that it was associated with a username of “joseph”

and a full name “Joseph Smith.” Numerous recent internet searches had been conducted on the

computer for pornographic material. The search terms revealed by the forensic review included

the following:

    •   “free black anal sex step daddy n step daughter”
    •   “free black step father n step daughter anal sex” 2
    •   “free black teen anal sex”
    •   “free black step father nstep daughter”
    •   “free black anal sex vido”
    •   “can anal make you pregnant”
    •   “how many people get pregnant from anal sex”

        DFS also conducted a rudimentary, preliminary physical extraction of the black Motorola

cellular phone that revealed numerous text messaging exchanges between the defendant and A.S.

during the relevant time frame, though none were of the character described by A.S. in the

forensic interview. At the time of the search, the DFS did not have software available to conduct

a more complete physical extraction of the device, and accordingly could not retrieve deleted

messages and data from defendant’s Motorola phone.

        On May 10, 2019, the suspect was arrested at the First District Police Substation at 500 E

Street, S.E. and charged with one count of First Degree Sexual Abuse and four counts of

Misdemeanor Sexual Abuse. At the time of his arrest, the defendant had on his person an Apple

iPhone 6S+ (herein “defendant’s iPhone”), which police officers seized incident to arrest and

logged as evidence. A search warrant was obtained out of the Superior Court for the District of

Columbia for the defendant’s iPhone, and a preliminary forensic review of that device was



1
  In addition, A.S.’s iPhone was seized from the defendant’s residence. A.S. provided the passcode to the device.
DFS attempted to access the iPhone but for unknown reasons, did not use the passcode provided by A.S., and
therefore the iPhone was not forensically analyzed at that time.
2
  All text abbreviations and typographical errors in quoted language are original.

                                                         5
         Case 1:19-cr-00324-BAH Document 1-1 Filed 06/17/19 Page 6 of 10



completed by DFS. That preliminary forensic review of the defendant’s iPhone revealed that he

had sent several text messages to his current girlfriend regarding the defendant’s efforts to evade

the police, who had visited defendant’s residence on more than one occasion in May 2019 to

attempt to arrest him on a warrant.

       Given the limitations of DFS’s first preliminary forensic examination of defendant’s

Motorola cellular phone, in May 2019, DFS conducted a second, more complete forensic

examination of defendant’s Motorola phone pursuant to a new warrant obtained from the

Superior Court for the District of Columbia.

       Among the evidence recovered were two images depicting A.S. The first was an image

depicting A.S. holding up her shirt and displaying her breasts toward the camera. The image was

taken in the bathroom at the defendant’s residence in which A.S. had resided with the defendant.

A second image depicted A.S.’s vaginal and anal area, and was taken from a vantage point

behind A.S. The background depicted the same shower curtain and surroundings as the first

image. At a follow-up interview of A.S. conducted on June 11, 2019, A.S. identified herself in

the image depicting her genitalia and stated that the defendant had taken that image of her with

his cellular phone. Specifically, A.S. stated that the defendant had entered the bathroom of their

shared residence, instructed her to bend over, and pushed her on her back with his hand to make

her do so. A.S. said that while she stood bent over with her hands on the toilet, the defendant

took the photograph depicting her vaginal and anal area. A.S. also identified herself in the image

displaying her breasts and stated that the defendant entered the bathroom while she was in there,

handed her her own cellular phone, and then threatened her to coerce her to take an image of her

breasts and send it to him, which she did. A.S. said that the defendant repeatedly asked her to

take pictures of her genitalia to send to him, but she refused.



                                                  6
        Case 1:19-cr-00324-BAH Document 1-1 Filed 06/17/19 Page 7 of 10



       DFS also recovered from the defendant’s Motorola phone evidence of numerous internet

searches for and evidence of viewing adult pornography, including specifically pornography

depicting anal sex.

       DFS also conducted a more complete forensic extraction of A.S.’s iPhone in May 2019,

using her passcode to access the phone’s contents. DFS recovered from the iPhone numerous

text messaging exchanges between A.S. and the defendant that had been deleted, but were

nonetheless forensically extracted. Those messages included the following exchanges.

       On April 10, 2017, a little more than one week before A.S. disclosed the abuse, A.S. and

the defendant engaged in the following exchange, which was recovered from the deleted space in

A.S.’s iPhone:

           Defendant:        I want to see ur tits n lick them

           A.S.:             What I do

           Defendant:        U never try to make me cum

           A.S.:             I do but tonight my tooth hurts sorry

           A.S.:             lk it feel uncomfortable

           Defendant:        It’s something all the time but that’s okay I’m going to start putting
                             my dick into ur beautiful ass

           A.S.:             No

           Defendant:        Yes unless u going to gave me some pzzy

           A.S.:             U have to wait this shit is not easy to open unless I become a
                             whore and it look like that’s my only solution to this

           Defendant:        U won’t be a whore just minds

           A.S.              So I’m a hoe period I’m cool with that but this take time I’m not
                             rushing nothing but I will if you need me that much

           Defendant:        I need u that much


                                                7
             Case 1:19-cr-00324-BAH Document 1-1 Filed 06/17/19 Page 8 of 10



                A.S.                  Is that a question

                Defendant:            No I need you that much I’m trying to wait longer

                A.S.                  Cuz me I’ll just suck ur dick instead of giving up my virginity to
                                      you

                * * *

                Defendant:            U need to suck my dk tomorrow n show me how much u love
                                      [heart emoji] me.”

                Defendant:            u much open up ur ass starting Tomorrow cuz I’m going to start
                                      fucking u in ur ass next week promise

                Defendant:            take your panties off


           In addition to this exchange, other messages, dated between November 2016 and March

2017, were also recovered from the deleted space of A.S.’s phone. The extraction report

identifies A.S. as the recipient of those messages, but does not identify the sender. In her June

11, 2019, interview, A.S. subsequently identified those messages, excerpts of which appear

below, as having been sent by the defendant: 3


                Defendant:            Don’t let me find out that u r lying bout ur period cause it’s never
                                      on this long n I know when u stopped using the pad (December 27,
                                      2016)

                Defendant:            I want my dk sucked tonight n I will give u some money tomorrow
                                      (January 4, 2017)

                Defendant:            When [Witness 2] go into the bath get ready to suck some dk
                                      (January 23, 2017)

                Defendant:            When u start letting me fuck that ass u can have anything u want n
                                      you can’t tell anyone (January 23, 2017)

                Defendant:            And I can take it slower as long as its mind (January 23, 2017)



3
    A.S.’s responses to these messages, if any, were not recovered.

                                                            8
          Case 1:19-cr-00324-BAH Document 1-1 Filed 06/17/19 Page 9 of 10



             Defendant:            When I get from the back I want to eat ur pussy tonight (January
                                   23, 2017)

             Defendant:            Can you suck a little for me (March 16, 2017)

             Defendant:            When mommy takes [Witness 2] to the bus can I eat (March 23,
                                   2017)

        Regarding defendant’s reference to A.S.’s menstrual cycle, a search warrant response

received from Apple in May 2019 revealed that the defendant was apparently using the “Notes”

app in his iCloud account to track the start and end dates of someone’s menstrual cycle.

Although A.S. said in the June 11, 2019, interview that she sometimes used an app to track her

own period, she denied ever tracking that information in a “note” on her phone. 4

        During the same interview on June 11, 2019, during which A.S. identified herself as the

individual depicted in the image of child pornography forensically extracted from defendant’s

phone, A.S. was asked additional questions not addressed during her CAC interview in April

2017. A.S. disclosed the same information as she had in her CAC forensic interview. In

response to lengthier, more detailed questioning, A.S. also revealed additional details about the

sexual abuse she suffered. For example, A.S. recounted an additional specific instance of sexual

abuse by the defendant in which he drove her in a rented U-Haul van to a pet store in

Washington, D.C., and purchased three fishes for A.S. A.S. recalled that after the defendant

bought her the pets, he drove the van to a dark vacant area in the vicinity of Banneker High

School, parked the van, pulled A.S. into the back, pushed her to her knees, and forced her to suck

his penis.




4
  A.S. did indicate that because her iCloud account was linked in some way with the defendant’s account, certain
information from his phone appeared on her phone, including, for example, several pornography related searches.
A.S. denied that she ever used her phone to search for any pornography or sex-related inquiries.

                                                        9
         Case 1:19-cr-00324-BAH Document 1-1 Filed 06/17/19 Page 10 of 10



        A.S. also provided additional information about the facts she had previously disclosed.

For example, she identified the hospital in Washington, D.C., to which her mother was taken

during the occasions on which defendant would use that opportunity to sexually abuse her. She

also elaborated on the kinds of photos that the defendant would take of her in the shower, when

she was not aware that he was in the bathroom until she saw his hand and phone reach around

the shower curtain.

        A.S. also stated that on at least one occasion, the defendant forced her to watch a video of

pornography on his computer. 5 The video he made her watch depicted vaginal sex, and A.S.

recalled it to be titled something akin to “stepdaughter and stepfather sex.” The defendant

stopped A.S. when she tried to leave the room because she did not want to watch the video, and

he told her that it was normal for stepfathers to have sex with their stepdaughters.



                                                   Respectfully submitted,



                                                   Thomas Sullivan
                                                   Detective
                                                   MPDC


        Subscribed and sworn to before me on this _____ day of June, 2019




                                                   _________________________________________
                                                   ROBIN M. MERIWEATHER
                                                   UNITED STATES MAGISTRATE JUDGE




5
 In the interview conducted at the CAC, A.S. discussed the defendant also making her watch a video of a woman
having sex with a dog.

                                                      10
